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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division                       IN OPEN COURT


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 UNITED STATES OF AMERICA

         V.                                          Case No. I:l8-CR-7i^
 ANTONIO ALDEMAR AVILA ACEVEDO,

                Defendant.


                                    STATEMENT OF FACTS

       The United States and the defendant, Antonio Aldemar Avila Acevedo, agree that the
following facts are true and correct, and that had this matter proceeded to trial, the United States
would have proven them beyond a reasonable doubt with admissible and credible evidence:

        1.     From in and around 2017 through in and around April 2018, within the jurisdiction
of the Eastern District of Virginia, and elsewhere, the defendant, ANTONIO ALDEMAR AVILA

ACEVEDO, did unlawfully, knowingly and intentionally combine, conspire, confederate and
agree with co-defendants FABIAN ANDRES LEYTON VARGAS and JOSE MAURICIO

CASTANEDA GARZON, and others both known and unknown, to unlawfully, knowingly and
intentionally distribute five (5) kilograms or more of cocaine, a Schedule II controlled substance,
knowing and intending and having reasonable cause to believe it would be imported into the United
States, in violation of Title 21, United States Code, Sections 959(a), 960, and 963.

       2.      It was part of the conspiracy that the defendant and his co-conspirators trafficked
multi-hundred kilogram quantities of cocaine, valued at millions of United States dollars, around

the world by causing such cocaine to be secreted aboard commercial shipping containers in the
Port of Santa Marta, Colombia. The defendant had his co-conspirators used multiple commercial
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import/export companies as "front" companies to create a fa9ade of legitimacy to conceal their

cocaine trafficking activities.

       3.      It was further part of the conspiracy that Colombian cocaine trafficking

organizations used the defendant as a manager to facilitate the passing oflarge-scale quantities of

cocaine through the port of Santa Marta. The defendant accomplished this in part by bribing, or

causing others to bribe, security and law enforcement officials in the port. The defendant and his

co-conspirators then arranged for these same bribed officials to be responsible for inspecting cargo

in which cocaine was hidden, and therefore turn a blind eye to contraband leaving the port.

       4.      In and around June 2017, the defendant and LEYTON VARGAS approached a

security and inspection officer ("Officer 1") in the port of Santa Marta, Colombia, and asked

Officer 1 to assist them in smuggling cocaine through port security for export and distribution in

locations around the world. The defendant offered to pay a bribe to Officer 1 in exchange for his

help in facilitating their cocaine trafficking endeavors.

       5.      On or about July 24,2017,the defendant, LEYTON VARGAS,and CASTANEDA

GARZON met with Officer 1 to discuss a pending load ofcocaine to be smuggled out of the port

on or about July 27. The co-conspirators discussed bribing law enforcement officers, and which

bribed officials that Officer 1 should assign to assist with the inspection that day. The defendant

described how the cocaine would be hidden in the shipping container, and told Officer 1 that the

shipment would contain a total of800 kilograms of cocaine.

       6.      On or about July 27,2017,the defendant, LEYTON VARGAS,and CASTANEDA

GARZON caused approximately 1,773 kilograms of cocaine to enter the Port of Santa Marta,

Colombia. The defendant and his co-conspirators intended to ship this cocaine aboard a

commercial maritime vessel destined for Guatemala, which is a transshipment point for cocaine
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 destined for importation into the United States. However, law enforcement seized the cocaine

 before it could depart the port.

        7.      In and around August 2017, LEYTON VARGAS and CASTANEDA GARZON

 met with Officer 1 and told Officer 1 that they did not blame him for the seizure. Instead,the co-
conspirators continued to solicit Officer 1's assistance with smuggling loads of cocaine out ofthe
port of Santa Marta. The co-conspirators paid Officer 1 approximately $56,700 in United States
currency for his assistance in facilitating their cocaine smuggling efforts.
        8.      In and around October 2017, Officer I met with LEYTON VARGAS and

CASTANEDA GARZON to discuss another pending load of cocaine bound of cocaine. When
Officer 1 asked whether the shipment would ultimately end up in the United States, the co-
conspirators stated that this was likely. The co-conspirators paid Officer 1 approximately $33,000
in United States currency for his assistance in facilitating their cocaine smuggling efforts.
        9.      In and around March 2018, the defendant, LEYTON VARGAS, and
CASTANEDA GARZON again solicited Officer I's help to smuggle a shipment of cocaine out
of the Port of Santa Marta. The co-conspirators told Officer I that the shipment would be
concealed in wooden crates containing paper in order to conceal the cocaine. The defendant paid
Officer I approximately $19,000 for his assistance in facilitating this shipment ofcocaine./
        10.    On or about March 27, 2018, the defendant, LEYTON VARGAS, and
CASTANEDA GARZON caused approximately 2,081 kilograms of cocaine to enter the Port of
Santa Marta, Colombia. The defendant and his co-conspirators intended to ship this cocaine
aboard a commercial maritime vessel destined for Veracruz, Mexico, which is another
transshipment point for cocaine destined for importation into the United States. However, law
enforcement seized the cocaine before it could depart the port. The cocaine was hidden in wooden
crates that appeared to contain paper, as the defendant and his co-conspirators described.

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        11.     During the course and in furtherance of the conspiracy, the defendant was

personally involved in the distribution of, or it was reasonably foreseeable to the defendant that

his co-conspirators distributed in furtherance of the conspiracy, at least 450 kilograms ofa mixture
and substance containing a detectable amount of cocaine.

        12.    This Statement of Facts includes those facts necessary to support the plea
agreement between the defendant and the United States. It does not include each and every fact
known to the defendant or to the United States, and it is not intended to be a full enumeration of

ail of the facts surrounding the defendant's case.

        13.    The actions ofthe defendant, as recounted above, were in all respects knowing and
deliberate, and were not committed by mistake, accident, or other innocent reason.

        14.    If the defendant breaches the plea agreement, then pursuant to the plea agreement,
he waives any rights under Federal Rule of Criminal Procedure 11(f), Federal Rule of Evidence
410,the United States Constitution, and any federal statute or rule in objecting to the admissibility
of the statement offacts in any such proceeding.

     Respectfully submitted,

     G. Zachary Terwilliger                          Arthur Wyatt
     United States Attorney                          Chief, Narcotic and Dangerous Drug Section
                                                     Criminal Division, U.S. Department of Justice


       atherine E. Mmbaugh                           Anthony Aminoff
     David A. Peters                                 Trial Attorney, Narcotic Dangerous Drug Section
     Assistant United States A^fomeys                Criminal Division, U.S. Department of Justice
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        Defendant's signature: After consulting with my attorney and pursuant to the plea
agreement entered into this day between the defendant, ANTONIO ALDEMAR AVILA
ACEVEDO,and the United States, I hereby stipulate that the above Statement of Facts is true and
accurate, and that had the matter proceeded to trial the United States would have proved the same
beyond a reasonable doubt.

Date:
                                                    ' A'l     Avila Acevedo
                                            Defendant



        Defense counsel signature; I am the defendant's attorney. I have carefully reviewed the
above Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is
an informed and voluntary one.

Date:
                                                     A
                                           David Zapp, Esc
                                           Attorney for the D^ndant
